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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 MELANIE L. ALSWORTH
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:15-CR-00272 DAD
11
                                   Plaintiff,
12                                                       ORDER FOR PSYCHIATRIC OR
                             v.                          PSYCHOLOGICAL EXAMINATION PURSUANT
13                                                       TO 18 U.S.C. § 4241(b)
     EDMOND HORMOZI,
14
                                  Defendant.
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            On March 11, 2019, during the trial confirmation hearing, defendant’s counsel represented his
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     concern that his client lacks the present ability to consult with counsel in a meaningful way and that he
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     is unable to assist properly in his defense. Defendant’s counsel made an oral motion for an evaluation to
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     determine defendant’s mental competency to stand trial. Additionally, the Court was advised by the
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     Pretrial Services Officer that defendant is receiving mental health services and has been since 2016.
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            The Court finds that it is required to order a psychiatric or psychological examination if there is
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     reasonable cause to believe the defendant may presently be suffering from a mental disease or defect
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     rendering him mentally incompetent to the extent that he is unable to understand the nature and
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     consequences of the proceedings against him or to assist properly in his defense. See generally Chavez
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     v. United States, 656 F.2d 512, 516-18 (9th Cir. 1981). Based upon representation of defendant’s
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     counsel, the Court grants defendant’s motion and orders a psychiatric or psychological examination.
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      ORDER – 18 U.S.C. § 4241                            1
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          Case 1:15-cr-00272-DAD-BAM Document 154 Filed 03/12/19 Page 2 of 2

 1          THEREFORE, IT IS ORDERED that pursuant to 18 U.S.C. § 4241(b), a psychiatric or

 2 psychological examination of defendant Edmond Hormozi be conducted and that a psychiatric or

 3 psychological report be filed with the Court pursuant to the provisions of 18 U.S.C. § 4247(b) and (c). It

 4 is further ORDERED that the defendant is committed to the custody of the Attorney General, and the

 5 United States Marshal’s Service is directed to transfer defendant to a suitable facility for that

 6 examination.

 7 IT IS SO ORDERED.

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        Dated:     March 12, 2019
 9                                                     UNITED STATES DISTRICT JUDGE

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      ORDER – 18 U.S.C. § 4241                            2
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